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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                 CASE NO. 2:19-cv-01170- MSG

STEWART SMITH, individually and on
behalf of all others similarly situated,

        Plaintiff,

v.

EGV COMPANIES, INC., a Missouri Limited
Liability Company,

      Defendants.
_______________________________________/

     STIPULATION AND AGREED MOTION FOR ENLARGEMENT OF TIME FOR
            DEFENDANT TO RESPOND TO PLAINTIFF’S COMPLAINT

        The parties, by and through their respective undersigned counsel, pursuant to Fed. R. Civ.

P. 6(b), file this joint stipulation and agreed motion to enlarge the time for Defendant, EGV

Companies, Inc. (“Defendant”), to respond to Plaintiff, Stewart Smith’s (“Plaintiff”), Complaint

from April 22, 2019, until and including May 20, 2019, and state as follows:

     1. On March 19, 2019, Plaintiff filed his Complaint seeking to allege claims pursuant to the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., (the “Complaint”) in the United

States District Court for the Eastern District of Pennsylvania.

     2. On or around April 1, 2019, Defendant was served with the Complaint, such that a

response is due on or before April 22, 2019.

     3. Defendant retained the undersigned to investigate and attempt to settle the allegations and

claims asserted in the Complaint.

     4. The parties are currently engaging in discussions regarding the underlying facts and the

potential for resolving the litigation at an early stage of the proceedings.



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   5. This enlargement of time is not sought in bad faith or for the purposes of delay and will

not prejudice any party.

   6. WHEREFORE, the parties respectfully request the Court to enter an Order enlarging the

time through and including May 20, 2019 for Defendant to respond to Plaintiff’s Complaint.

                              CERTIFICATE OF CONFERRAL

       Prior to filing this Stipulation and Agreed Motion for Enlargement of Time, the

undersigned counsel for Defendant and the undersigned counsel for Plaintiff conferred in an

effort to resolve the matters addressed herein. Counsel for the respective parties have agreed to

the stipulated enlargement of time for Defendant to respond to Plaintiff’s Complaint until and

including May 20, 2019.



Dated: May 7, 2019



       /s/ Barry Cohen                               /s/ Thomas J. Campenni____
       BARRY COHEN                                   THOMAS J. CAMPENNI
       Email: bcohen@rccblaw.com                     Email: tcampenni@rjglaw.com
       Two Logan Square                              Rosenn, Jenkins & Greenwald, LLP
       00 N. 18th Street, Suite 710                  15 South Franklin Street
       Philadelphia, PA 19103                        Wilkes-Barre, PA 18711-0075
       Attorney for Plaintiff Stewart Smith          Attorney for Defendant, EGV Companies, Inc.



SO ORDERED THIS _____ day of May, 2019

BY THE COURT:

________________________________________
The Honorable Mitchell S. Goldberg, U.S.D.J.




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                                            Stipulation and Agreed Motion for Enlargement of Time
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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

                               CASE NO. 2:19-cv-01170- MSG

STEWART SMITH, individually and on
behalf of all others similarly situated,

       Plaintiff,

v.

EGV COMPANIES, INC., a Missouri Limited
Liability Company,

      Defendants.
_______________________________________/


                             CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 7th day of May, 2019, I electronically filed the

foregoing Stipulation and Agreed Motion for Enlargement of Time for Defendants EGV

Companies, Inc. to Respond to Plaintiff’s Complaint with the Clerk of the Court by using the
Court’s CM/ECF system. I also certify that the foregoing is being served this day on all counsel

of record via transmission of Notices of Electronic Filing generated by CM/ECF.


                                            By: /s/ Thomas J. Campenni
                                               THOMAS J. CAMPENNI
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                                               Fax: (570) 706-3437




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